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 1    Todd M. Friedman (SBN 216752)
      Adrian R. Bacon (SBN 280332)
 2    Meghan E. George (SBN 274525)
 3    Tom E. Wheeler (SBN 308789)
      LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 4    21550 Oxnard St., Suite 780
 5    Woodland Hills, CA 91367
      Phone: 877-206-4741
 6
      Fax: 866-633-0228
 7    tfriedman@toddflaw.com
 8    abacon@toddflaw.com
      mgeorge@toddflaw.com
 9    twheeler@toddflaw.com
10    Attorneys for Plaintiff
11                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
12
13   RICHARD WORNE, individually and )               Case No.
14   on behalf of all others similarly situated, )
                                                 )   CLASS ACTION
15   Plaintiff,                                  )
16                                               )   COMPLAINT FOR VIOLATIONS
            vs.                                  )   OF:
17
                                                 )
18   ALLIED INTERSTATE LLC, and                  )      1.      NEGLIGENT VIOLATIONS
                                                                OF THE TELEPHONE
19   DOES 1 through 10, inclusive, and each )                   CONSUMER PROTECTION
     of them,                                    )              ACT [47 U.S.C. §227(b)]
20                                               )      2.      WILLFUL VIOLATIONS
                                                                OF THE TELEPHONE
21   Defendant.                                  )              CONSUMER PROTECTION
                                                 )              ACT [47 U.S.C. §227(b)]
22
                                                 )
23                                               )
                                                 )
24                                                   DEMAND FOR JURY TRIAL
                                                 )
25
           Plaintiff RICHARD WORNE (“Plaintiff”), individually and on behalf of all
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     others similarly situated, alleges the following upon information and belief based
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     upon personal knowledge:
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 1                              NATURE OF THE CASE
 2           1.   Plaintiff brings this action individually and on behalf of all others
 3   similarly situated seeking damages and any other available legal or equitable
 4   remedies resulting from the illegal actions of ALLIED INTERSTATE LLC
 5   (“Defendant”), in negligently, knowingly, and/or willfully contacting Plaintiff on
 6   Plaintiff’s cellular telephone in violation of the Telephone Consumer Protection
 7   Act, 47. U.S.C. § 227 et seq. (“TCPA”), thereby causing Plaintiff to incur charges
 8   for incoming calls and invading Plaintiff’s privacy.
 9                             JURISDICTION & VENUE
10           2.   Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
11   a resident of California, seeks relief on behalf of a Class, which will result in at
12   least one class member belonging to a different state than that of Defendant, a
13   Minnesota company. Plaintiff also seeks up to $1,500.00 in damages for each call
14   in violation of the TCPA, which, when aggregated among a proposed class in the
15   thousands, exceeds the $5,000,000.00 threshold for federal court jurisdiction.
16   Therefore, both diversity jurisdiction and the damages threshold under the Class
17   Action Fairness Act of 2005 (“CAFA”) are present, and this Court has jurisdiction.
18           3.   Venue is proper in the United States District Court for the Central
19   District of California pursuant to 28 U.S.C. § 1391(b)(2) because Defendant does
20   business within the State of California and Plaintiff resides within the County of
21   Ventura.
22                                       PARTIES
23           4.   Plaintiff, RICHARD WORNE (“Plaintiff”), is a natural person
24   residing in Semi Valley, California and is a “person” as defined by 47 U.S.C. § 153
25   (39).
26           5.   Defendant ALLIED INTERSTATE LLC (“Defendant”) is a debt
27   collection company, and is a “person” as defined by 47 U.S.C. § 153 (39).
28           6.   The above named Defendant, and its subsidiaries and agents, are


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 1   collectively referred to as “Defendants.” The true names and capacities of the
 2   Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
 3   currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
 4   names. Each of the Defendants designated herein as a DOE is legally responsible
 5   for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
 6   Complaint to reflect the true names and capacities of the DOE Defendants when
 7   such identities become known.
 8          7.     Plaintiff is informed and believes that at all relevant times, each and
 9   every Defendant was acting as an agent and/or employee of each of the other
10   Defendants and was acting within the course and scope of said agency and/or
11   employment with the full knowledge and consent of each of the other Defendants.
12   Plaintiff is informed and believes that each of the acts and/or omissions complained
13   of herein was made known to, and ratified by, each of the other Defendants.
14                              FACTUAL ALLEGATIONS
15          8.     Beginning in or around November of 2017, Defendant contacted
16   Plaintiff on Plaintiff’s cellular telephone number ending in -0772, in an attempt to
17   collect on an alleged debt.
18          9.     Defendant called Plaintiff upwards of a dozen times over a short
19   period of time.
20          10.    Defendant called Plaintiff’s cellular telephone from telephone number
21   (866) 466-4502 confirmed to belong to Defendant.
22          11.    Defendant used an “automatic telephone dialing system” (“ATDS”)
23   as defined by 47 U.S.C. § 227(a)(1) to place its frequent and incessant collection
24   calls to Plaintiff .
25          12.    Defendant’s calls constituted calls that were not for emergency
26   purposes as defined by 47 U.S.C. § 227(b)(1)(A).
27          13.    Defendant’s calls were placed to telephone number assigned to a
28   cellular telephone service for which Plaintiff incurs a charge for incoming calls


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 1   pursuant to 47 U.S.C. § 227(b)(1).
 2         14.   During all relevant times, Defendant did not possess Plaintiff’s “prior
 3   express consent” to receive calls using an automatic telephone dialing system or an
 4   artificial or prerecorded voice on his cellular telephone pursuant to 47 U.S.C. §
 5   227(b)(1)(A).
 6         15.   Plaintiff received numerous collection calls from Defendant within a
 7   12-month period.
 8         16.   Upon information and belief, and based on Plaintiff’s experiences
 9   recounted herein, and at all relevant times, Defendant failed to establish and
10   implement reasonable practices and procedures to effectively prevent collection
11   calls in violation of the TCPA.
12                              CLASS ALLEGATIONS
13         17.   Plaintiff brings this action individually and on behalf of all others
14   similarly situated, as a member the proposed classes (hereafter, “The Class”)
15   defined as follows:
16
                 All persons within the United States who received any
17               collection telephone calls from Defendant to said
18               person’s cellular telephone made through the use of any
                 automatic telephone dialing system or an artificial or
19
                 prerecorded voice and such person had not previously
20               consented to receiving such calls within the four years
21
                 prior to the filing of this Complaint

22
           18.   Plaintiff represents, and is a member of, The Class, consisting of all
23
     persons within the United States who received any collection telephone calls from
24
     Defendant to said person’s cellular telephone made through the use of any
25
     automatic telephone dialing system or an artificial or prerecorded voice and such
26
     person had not previously provided their cellular telephone number to Defendant
27
     or express consent to be called with an automatic telephone dialing system or
28
     artificial or prerecorded voice within the four years prior to the filing of this


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 1   Complaint.
 2         19.    Defendant, its employees and agents are excluded from The Class.
 3   Plaintiff does not know the number of members in The Class, but believes the Class
 4   members number in the thousands, if not more. Thus, this matter should be
 5   certified as a Class Action to assist in the expeditious litigation of the matter.
 6         20.    The Class is so numerous that the individual joinder of all of its
 7   members is impractical. While the exact number and identities of The Class
 8   members are unknown to Plaintiff at this time and can only be ascertained through
 9   appropriate discovery, Plaintiff is informed and believes and thereon alleges that
10   The Class includes thousands of members.            Plaintiff alleges that The Class
11   members may be ascertained by the records maintained by Defendant.
12         21.    Plaintiff and members of The Class were harmed by the acts of
13   Defendant in at least the following ways: Defendant illegally contacted Plaintiff
14   and Class members via their cellular telephones thereby causing Plaintiff and Class
15   members to incur certain charges or reduced telephone time for which Plaintiff and
16   Class members had previously paid by having to retrieve or administer messages
17   left by Defendant during those illegal calls, and invading the privacy of said
18   Plaintiff and Class members.
19         22.    Common questions of fact and law exist as to all members of The
20   Class which predominate over any questions affecting only individual members of
21   The Class. These common legal and factual questions, which do not vary between
22   Class members, and which may be determined without reference to the individual
23   circumstances of any Class members, include, but are not limited to, the following:
24                a.     Whether, within the four years prior to the filing of this
25                       Complaint, Defendant made any collection call (other than a
26                       call made for emergency purposes or made with the prior
27                       express consent of the called party) to a Class member using
28                       any automatic telephone dialing system or any artificial or


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 1                       prerecorded voice to any telephone number assigned to a
 2                       cellular telephone service;
 3                b.     Whether Plaintiff and the Class members were damaged
 4                       thereby, and the extent of damages for such violation; and
 5                c.     Whether Defendant should be enjoined from engaging in such
 6                       conduct in the future.
 7         23.    As a person who received numerous collection calls from Defendant
 8   using an automatic telephone dialing system or an artificial or prerecorded voice,
 9   without Plaintiff’s prior express consent, Plaintiff is asserting claims that are
10   typical of The Class.
11         24.    Plaintiff will fairly and adequately protect the interests of the members
12   of The Class. Plaintiff has retained attorneys experienced in the prosecution of
13   class actions.
14         25.    A class action is superior to other available methods of fair and
15   efficient adjudication of this controversy, since individual litigation of the claims
16   of all Class members is impracticable. Even if every Class member could afford
17   individual litigation, the court system could not. It would be unduly burdensome
18   to the courts in which individual litigation of numerous issues would proceed.
19   Individualized litigation would also present the potential for varying, inconsistent,
20   or contradictory judgments and would magnify the delay and expense to all parties
21   and to the court system resulting from multiple trials of the same complex factual
22   issues. By contrast, the conduct of this action as a class action presents fewer
23   management difficulties, conserves the resources of the parties and of the court
24   system, and protects the rights of each Class member.
25         26.    The prosecution of separate actions by individual Class members
26   would create a risk of adjudications with respect to them that would, as a practical
27   matter, be dispositive of the interests of the other Class members not parties to such
28   adjudications or that would substantially impair or impede the ability of such non-


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 1   party Class members to protect their interests.
 2           27.   Defendant has acted or refused to act in respects generally applicable
 3   to The Class, thereby making appropriate final and injunctive relief with regard to
 4   the members of the Class as a whole.
 5                             FIRST CAUSE OF ACTION
 6           Negligent Violations of the Telephone Consumer Protection Act
 7                                 47 U.S.C. § 227 et seq..
 8           28.   Plaintiff repeats and incorporates by reference into this cause of action
 9   the allegations set forth above at Paragraphs 1-27.
10           29.   The foregoing acts and omissions of Defendant constitute numerous
11   and multiple negligent violations of the TCPA, including but not limited to each
12   and every one of the above cited provisions of 47 U.S.C. § 227 et seq..
13           30.   As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et
14   seq., Plaintiff and the Class Members are entitled an award of $500.00 in statutory
15   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
16           31.   Plaintiff and the Class members are also entitled to and seek injunctive
17   relief prohibiting such conduct in the future.
18                            SECOND CAUSE OF ACTION
19    Knowing and/or Willful Violations of the Telephone Consumer Protection
20                                            Act
21                                 47 U.S.C. § 227 et seq.
22           32.   Plaintiff repeats and incorporates by reference into this cause of action
23   the allegations set forth above at Paragraphs 1-27.
24           33.   The foregoing acts and omissions of Defendant constitute numerous
25   and multiple knowing and/or willful violations of the TCPA, including but not
26   limited to each and every one of the above cited provisions of 47 U.S.C. § 227 et
27   seq..
28           34.   As a result of Defendant’s knowing and/or willful violations of 47


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 1   U.S.C. § 227 et seq., Plaintiff and the Class members are entitled an award of
 2   $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
 3   § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
 4         35.    Plaintiff and the Class members are also entitled to and seek injunctive
 5   relief prohibiting such conduct in the future.
 6                                PRAYER FOR RELIEF
 7    WHEREFORE, Plaintiff requests judgment against Defendant for the following:
 8                             FIRST CAUSE OF ACTION
 9          Negligent Violations of the Telephone Consumer Protection Act
10                                 47 U.S.C. § 227 et seq.
11                As a result of Defendant’s negligent violations of 47 U.S.C. §227 et
12                seq., Plaintiff and the Class members are entitled to and request $500
13                in statutory damages, for each and every violation, pursuant to 47
14                U.S.C. 227(b)(3)(B).
15                Any and all other relief that the Court deems just and proper.
16                           SECOND CAUSE OF ACTION
17    Knowing and/or Willful Violations of the Telephone Consumer Protection
18                                           Act
19                                 47 U.S.C. § 227 et seq.
20                As a result of Defendant’s willful and/or knowing violations of 47
21                U.S.C. §227 et seq., Plaintiff and the Class members are entitled to
22                and request treble damages, as provided by statute, up to $1,500, for
23                each and every violation, pursuant to 47 U.S.C. §227(b)(3)(B) and 47
24                U.S.C. §227(b)(3)(C).
25                Any and all other relief that the Court deems just and proper.
26   ///
27   ///
28   ///


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 1                                    JURY DEMAND
 2         36.    Pursuant to the Seventh Amendment to the Constitution of the United
 3   States of America, Plaintiff is entitled to, and demands, a trial by jury.
 4
 5
 6         Respectfully Submitted this 3rd Day of October, 2018.
 7                              LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 8
                                       By: /s/ Todd M. Friedman
 9                                         Todd M. Friedman
10
                                           Law Offices of Todd M. Friedman
                                           Attorney for Plaintiff
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